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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: MARGARET W. ALLEN, : CHAPTER 13
Debtor, : CASE NO. lS-lOO77-SDB

 

TITLEMAX OF GEORGIA, INC.,
Movant,
JUDGE SUSAN D. BARRETT

VS.

MARGARET W. ALLEN and
HUON LE, Trustee,

Respondents.
OBJECTI()N TO CHAPTER 13 PLAN AND MOTION TO DENY CONFIRMATION

COMES NOW TITLEMAX OF GEORGIA, INC. (“Movant”), a secured creditor in the
above-captioned bankruptcy proceeding, and hereby objects to confirmation of this case and
moves for denial of confirmation of the plan, showing the Court as follows:

l.

On October 20, 20l7, Margaret W. Allen (“Debtor”) and Movant entered into a thirty-day
pawn transaction under Georgia law in Which the Debtor exchanged a Certit`rcate of Title to a 2005
Jeep Cherokee for a cash advance. Title of Certificate and Pavvn Transaction are collectively
attached hereto as Exhibit “A”. The loan matured and came due in full on Novernber 19, 2017,
the Specific Maturity Date of the Pawn Transaction. Debtor failed to pay Movant by the maturity
date or by December 20, 2017, the expiration of the statutory grace period granted by O.C.G.A. §

44-14-403(b)(3). The amount due as of the filing of the bankruptcy petition is $4,959.55.

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2.

Debtor filed the bankruptcy petition on January 19, 2018. To the extent Debtor was entitled
to a 60-day redemption period pursuant to ll U.S.C. § lOS(b), Debtor has failed to make any
attempt to redeem the pledged property to date. Because Debtor failed to pay pursuant to the
express terms of the contract or during any applicable statutory grace or redemption period, all
ownership interest of the Debtor in the pledged property has been or shall be extinguished

3.

A debtor’s ownership interest in an item of property pledged in a pawn transaction is
forfeited if it is not timely paid or redeemed Pledged goods may be redeemed by the pledgor only
by full payment of any unpaid fees and charges, the repayment of the principal, and the payment
of the additional interest Pledged goods not redeemed shall be immediately forfeited to the
pawnbroker by operation of law and any ownership interest of the pledgor in the pledged item
shall be automatically extinguished O.C.G.A. § 44-14-403(b)(3); Titlemax v. Northin,qton, No.
16-17467(11th Cir., Dec. 11, 2017).

4.

When a debtor does not timely redeem prior to the filing of the debtor’s bankruptcy
petition, the pledged property is not property of the bankruptcy estate as defined in 11 U.S.C. §
541-and is not property within the bankruptcy court’s vested jurisdiction “A chapter 13 plan may
not provide for disposition of property which is not property of the estate as defined in 11 U.S.C.
§ 541 and the fact of plan confirmation cannot bind a property owner to a plan provision disposing
of his property rights when such property is not within the Court’s vested jurisdiction” ILL§
EQvLard, 507 B.R. 394, at 399 (Bankr. N.D. Ga. 2014); Accord Titlemax v. Northington, No. 16-

17467 (11th Cir., Dec. 11, 2017).

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5.

To the extent Debtor failed to pay or redeem prior to the filing of the bankruptcy petition,
the proposed plan provides for the payment of a debt as to property which was not property of the
bankruptcy estate when the Debtor filed the petition. To the extent Debtor was entitled to a 60-
day redemption period pursuant to 11 U.S.C. § 108(b), Debtor failed to make any attempt to
redeem the pledged property in full to date and thus all ownership interest of the Debtor in the
pledged property has been or shall be extinguished Thus, the proposed plan would still provide
for the payment of a debt as to property which is not property of the bankruptcy estate.

WHEREFORE, Movant moves this Court to deny confirmation of the Debtor’s Chapter 13
Plan and seeks any other relief this court deems just and appropriate

Respectfully submitted this 21 st day of March, 2018. v

THE BOWEN LAW GROUP
/s/ Charles J. Bowen
CHARLES J. BOWEN
Georgia State Bar No. 071115
Atforneyfor Movcmt

7 East Congress Street

Suite 1001

Savannah, GA 31401

(912) 544~2050

(912) 544-2070 (fax)
cbowen@thebowenlawgroup. com

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EXHIBIT A

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Vehicle ID Number Year Make ?vtodel Body Style Lic Plate Reg Exp

 

 

1J4H358N45C700825 2005 JEEP

Weight New/Used 'l`itle Numb@r Oclometer State Date lssued
777932142628006 GA 09-25-2014

vFuli Name of 0wner($) Vehicle Brand(s} Liens(s)

MARGARET WILCHER ALLEN TlTLEMAX OF GEORGIA SNC D/B/A

3310 SYLVESTER DR TlTLEBUCKS

AUGUSTA, GA 3090649'13 [3018 PEACH ORCHARD RD

AuGusTA, GA 30906]*

Lten Date: .
ELT Number: 001103786936

Odometer Brand(s] U.N. LTN140925_1

* information has been supplied by the tienholder, not the state titlth agency.

 
  

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Written Disclosure Ticket PAWN TRANSACT|ON

ORlGlNAL ACCOUNT NUMBER: ACCOUNT NUMBER PAWN TlCKET NUMBER: DATE/TlME OF PAWN MATURITY DATE

229124020 400816464 875593 10/20/2017 11l19l2017

PLEDGOR lNFORMATlON: CO-PLEDGOR iNFQRMATlON:

FlRST NAME: MlDDLE NAME: LAST NAME; CO-PLEDGOR FlRST MlDDLE NAME: CG-PLEDGOR l_AST NAME;

MARGARET WiLCHER ALLEN NAME:

PLEDGOR SSN: PHOTO lD. NO.: CO-PLEDGOR SSN: CO-PLEDGOR‘S PHOTO lD. NO.:

PLEDGOR STREET ADDRESS: CO~PLEDGOR ADDRESS:

3310 SYLVESTER DRlVE

CITY: STATE ZiP CODE: RACE' ClT¥: STATE: ZlP CODE RACE:

AUGUSTA GA 30906 Black

HEIGHT WEiGHT BlRTH DATE: SEX: HEiGHT WEIGHT BlRTH DATE: SEX:

502 200.00 01/29/1958 Female

PAWNBROKER NAME: Titleh/iaxof PAWNBROKER HOURS OF OPERATION: Monday to Friday 9 A.M. to 7 P.M., PAWNBROKER PHONE NUMBER:

Geoigia, lnc.d/bla TitleBucks SaturdayiOA.M. to 2 P.M., Closed Sunday (705)793-0717

PAWNBROKER STREET ADDRESS: PAWNBROKER ClTY: PAWNBROKER STATE: PAWNBROKER ZlP

3018 PEACH ORCHARD RD AUGUSTA GA CODEI 30906

MOTOR VEHlCLE lNFORMATlON: VEHlCLE lDENTlF|CATiON NUMBER TlTLE STATE: LlCENSE PLATE VEHlCl.E CERTlFlCATE OF TlTLE
(VlN): 1J4H358N450700825 GA PWB 4440 NUMBER: 773954142349006

VEHICLE YEAR vEHlCLE MAKE VEHlCLE MODEL: DOORS CYLlNDERS: COLOR: ODOMETER

2005 JEEP GRAND CHEROKEE 08 Cyl RED 56240

 

 

 

 

 

 

 

 

 

|n this Written Dlsclosure Ticl<et the words "this document,". “Pawn Transaction," “Pawn Ticket,” "this transaction,” and “the transaction” are defined as they are in
0.C.G.A. § 44-12-130 et seq. and mean this signed agreement including the Waiver of Jury Trial and Arbitration Clause. The words "you,” “your,' “sel|er," “pledgor,'
and 'co~piedgor" mean the pledgor and/or co-pledgor identified above who have signed this Pawn Ticket. The words “we,” “us," “our," and “Pawnbroker" mean TitleMax
of Georgia, lnc. d/bla TitleBuci<s a pawnbroker licensed under and operating pursuant to the Georgia Code sections relating to pawnbrokers, including 0.C.G.A. §
44-12»130, et seq. and 0.C.G.A. § 44-14400, et seq. The words “Motor Vehicle," and “Pawned ltem" mean the Motor Vehicle identified above. The words "Title,”
“Certiiicate of Title," 'Pledged Goods,“ “Merchandise,“ and “Pledged items” mean the Motor Vehicie Certificate of Title identified above The word “Pawn" means the
pawn covered by this Pawn Tickel. `

 

This is a pawn transaction Failure to make your payments as described in this document can result in the loss of the pawned item. The pawnbroker
can sell or keep the item if you have not made all payments by the specified maturity date. Failure to make your payment as described in this document
can result in the loss of your motor vehicle. The pawnbroker can also charge you certain fees if he or she actually repossesses the motor vehicle.

 

 

 

You hereby grant to us a security interest in your Motor Vehicle. ln consideration of your payment of $ 4,624.31 (which is the cost to the seller or pledgor to redeem the
merchandise in this peii'od of the transaction), delivery to us of the Motor Vehicle's Certiticate of Title, and agreement to pay all of the fees, sums, interest chargesx and
amounts pursuant to 0.C.G.A. §44-12-130 et seq. and disclosed herein, we agree to lend you $ 4129.22 (“PFinCipB| AmOUnf“). Pur$uani fO 0.C.G.A- § 44-12-
137(7), please note that we are not making any agreement requiring the personal liability of a pledgor. Therefore, if you choose to redeem or repurchase the
Pledged Goods, then you must pay us in cash the Total of Payments listed below on the Specitied Maturily Date of the Pawn Transaction, which is ii/i 9/2017 (hereinafter
the “Specific Malurity Date“); however, if the Specii`ic iviaturity Date falls on a day in which we are not open for business, then you must pay us on the next business
day. We do not accept personal checks
FEDERAL TRUTH-lN-LENDlNG DISCLOSURES

 

 

 

 

 

 

 

 

 

 

ANNUAL FlNANCE Amount Total of Payments
PERCENTAGE RATE CHARGE Financed
The cost of your credit as a The dollar amount the The amount of credit T_he amount you Wm have
yearly rate. credit will cost you. provided to you or on Pa'd after Y°u have made an
your beha|f_ payments as scheduled
145.88 % $ 495.09 $4,129.22 $..4_,§2$3_1_____
Payment Schedule: One payment in the amount of $ 4,624.31 due on Sunday (day of week), November (month) 19 (day), 2017
Security: You are giving a security interest in the Nlotor Vehicle.
Fiiing Fee: 0.00
Prepayment: |f you pay off early, you will not be entitled to a refund of part of the tinance charge
See the terms below and on the other pages of this Wn'tten Disclosure Ticket for any additional information about nonpayment default and lack of prepayment
refunds.

 

 

 

Ariy comments or questions may be directed to Customer Service at the following toll-free number (866)340~6394
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ADDiTiONAL TERMS AND CONDiTiONS OF 'i'HiS WRiTTEN DiSCLOSURE TiCKET

itemization ofAmount Financed of 4,129.22

$ 0.00 Amount given to you directly

$4,129.22 Amount paid on account no. 400748664 with us
Amount paid to others on your behalf

$ 0.00 Amount paid public officials for title fees
$ N/A Amount to NlA
$ N/A Amount to NlA

Prepayment. You may prepay in full at any time the fees sums charges interest and amounts owing under this Written Disclosure Ticket and will not incur an additional
charge or fee. However. because we earn ali interest and pawnshop charges upon your execution of this Written Disclosure Ticket you will not be entitled to a rebate
and refund of any part of the Finance Charge. Likewise, you may prepay any extension of this Written Disclosure Ticket and will not incur an additional charge or fee.
However, because we earn ali interest and pawnshop charges as of the date of the extension or continuation of this Written Disclosure Ticket you will not be entitled
to a rebate and refund of any part of the Finance Charge.
Rescission: We will rebate and refund the Finance Charge we have earned and any fees to be paid to public officials if at anytime prior to the close of business on
the business day immediately following the date of this Pawn Ticket you prepay to us in cash the Amount Financed in full satisfaction of your obligations under this
Pawn Ticket.
Length of the Pawn Transaction, interest and Pawnshop charges, Extension or Continuation, and Cost to Redeem. The length of the original Pawn Transaction
is thirty days and it can only be renewed with the agreement of both parties and only for 30day incremental periods The provisions of this paragraph regarding
extensions or continuations are limited to the extent we may choose to cease doing business with you. Furthermore, if you request additional funds or request a change
in your Specided Maturity Date, then we will ask you to sign an agreement documenting same. if you do not request additional funds, the original Pawn Transaction
shall be considered to have been extended or continued unless: (a) Ail charges fees, and the principal have actually been paid or repaid on the previous Pawn
Transaction; (b) The Certihcate of Title, has actually been restored to your possession; and (c) The Motor Vehicle in the previous transaction has been removed from
our business premises and any lien on the Certificate of Title has been removed or released if the principal amount is not paid on the Specinc Maturity Date or the
extended maturity date, but you pay the fees, sums interest charges and other amounts owing to us then the Written Disclosure Ticket will be extended or continued for
an additional 30day period The extended maturity date shall be thirty days after the Specif`ic Maturity Date or previous extended maturity date. Pursuant to 0.C.G.A.
§44-12-138(1)) (5)-(8), please note the following rates on an annual basis and pay off amounts assume that (i) only the principal amount advanced in original Pawn
Ticket is outstanding (ii) that no payments have been made to reduce the principal amount advanced in the original Pawn Ticket and no additional funds have been
advanced to you subsequent to signing the original 30 day Pawn Ticket; (iii) all fees and charges on the original transaction have been kept current and that the annual
rate is computed as if ali interest and pawnshop charges were considered to be interest Given the assumptions stated above, please note as follows For the original
30day term, and two renewal terms in which the Pawn Transaction might be continued or extended (a total of 90 days): (i) Pawnbroker may charge for each 30~day
period interest and pawnshop charges which together equal no more than 25 percent of the principal amount advanced, with a minimum charge of up to $10.00 per
30day period; (li) it will cost the seller or pledgor $ 5507.67 to redeem the ivlerchandise; and (iii) the rate on an annual basis for these 30 day periods is
145.8800 %. After three 30day terms (an initial 30day term and two renewal tenns-a total of 90 days): (i) Pawnbroker may charge for each 30day period
interest and pawnshop charges which together equal no more than 12.5 percent of the principal amount advanced with a minimum charge of up to $5.00 per 30-day
period; (2) it will cost the seller or piedgor$ 5507.67 to redeem the Merchandise; and (3) the rate on an annual basis each 30day renewal term is 145.8788 %.
if you have signed an agreement subsequent to the original agreement to receive additional funds move the Specified Maturity Date and/or paid any amount toward
the principai, then your current payoff information no longer his within these narrow statutory assumptions As such the federal Truth-in-Lending disclosures in the
agreement you sign will provide you with the updated payoff amount information (cost to redeem the Merchandise) and the rate on an annual basis Upon renewai, ali
terms of this Written Disclosure Ticket shall continue in effect including the Waiver of Jury Triai and Arbitration Clause. Upon payment in full of ali amounts owing, we
will return the Pledged Goods unless such have been taken into custody by a court or by a law enforcement office or agency.
Default and Grace Period. if you choose to forgo paying us on the Specific Maturity Date or the extended maturity date, then pursuant to 0.C.G.A. §§44-12-131 and
44-12-138 you will be in “defauit' and a "grace period” governs our relationship The Pledged Goods may be redeemed for thirty days after the Specinc Maturity Date
or the extended maturity date. The grace period shall begin running on the nrst day following the Specified Maturity Date of the Pawn Transaction or on the first day
following the expiration of any extension or continuation of the Pawn Transaction, whichever occurs later. The grace period shall be 30 calendar days. in the event
that the last day of the grace period falls on a day in which we are not open for business the grace period shall be extended through the first day following upon which
we are open for business We will not sell the Pledged Goods during the grace period You may redeem the Motor Vehicle within the grace period by the payment of
any unpaid accrued fees and charges the repayment of the principal, and the payment of an additional interest charge not lo exceed 12.5 percent of the principai. To
redeem the Pledged Goods in the grace period immediately following the Specific Maturity Date, you must pay $ 5119.40 . You must contact the store for the
amount to redeem the Pledged Goods during a grace period after an extended maturity date. if the Motor Vehicle is not redeemed within the grace period it shall be
automatically forfeited to us by operation of 0.C.G.A. §44-14403, and any of your ownership interest in the Motor Vehicle shall automatically be extinguished After
the grace period the Pledged Goods become the progeny of the Pawnbroker.
Recovery and Storage. if you are in default we have the right to take possession of the Motor Vehicle. in taking possession we or our agent may proceed without
judicial process if this can be done without breach of the peace or may proceed by action as set forth in the Waiver of Jury Triai and Arbitration Clause. You agree to
pay a recovery fee, the amount of which wiii be based upon the distance we travel from our office to recover the Motor Vehicie. You agree to pay a recovery fee of
$50.00 ifwe recover the Motor Vehicle within 50 miles of the office where the Pawn Transaction originated a recovery fee of $100.00 for recoveries within 51 to 100
miles, a recovery fee of $150.00 for recoveries within 101 to 300 miles and a recovery fee of$250.00 for recoveries beyond 300 miles The recovery fee will be charged
only if an actual recovery pursuant to a default takes place on a Motor Vehicle which was not already in our possession You agree to pay a storage fee for a recovered
Motor Vehicle not to exceed $5.00 per day, but only if we actually recover and retain possession of the Motor Vehicle
Lien information, Additionai Fees and Charges, and Redeeming the Titie. You agree to pay us a fee to registera lien upon the Motor Vehicle Title, not to exceed
any fee actually charged by the appropriate state to register a lien upon a Motor Vehicle Title, but only if we actually place such a lien upon the Motor Vehicle Title. We
have a lien on the Motor Vehicle pawned for the money advanced interest and pawnshcp charge owed but not for other debts due to us. We may retain possession
of the Pledged Goods until the lien is satisfied and may have a right of action against anyone interfering therewith Any costs to ship the Pledged items to the pledgor
can be charged to the pledgor, along with a handling fee to equal no more than 50 percent of the actual costs to ship the Pledged items Pledgor agrees that whoever
properly identifies himself or herself and presents this Pawn Ticket is presumed to be the pledgor and is entitled to redeem the Motor Vehicie. if this Pawn Ticket is
lost destroyed or stolen, the pledgor should immediately advise the Pawnbroker in writing You agree to pay a fee of up to $2.00 for each lost or destroyed Pawn
Ticket. Pursuant to 0.C.G.A. §44-14~411.1 if we recover the Motor Vehicle and thereby obtain possession of any personal property found in such Motor Vehicie, we
shall have a lien on such property for any reasonable expenses incurred in storing such progeny and in giving notice to such owner.

Any comments or questions may be directed to Customer Service at the following toll-free number. (866)340~6394
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ADDiTiONAL TERMS AND CONDiTiONS OF THiS WR|TTEN DiSCLOSURE T|CKET

Goveming Law and Assignment. This Written Disclosure Ticket shall be governed by the laws of the State of Georgia, except that the Waiver of Jury Triai and
Arbitration Clause is governed by the Federai Arbitration Act ("FAA"). We may assign or transfer this Written Disclosure Ticket or any of our rights hereunder.
Notices and Waivers. We will send notices to you at your address on page 1, and we meet our duty to give you notice when we mail it. You must send ali notices to
us to: TitleMax of Georgia, inc., ATTN: Legai Department P.O. Box 8323, Savannah. Georgia 31412 (the "Notice Address'). We may waive or delay enforcing our
rights without losing them. We may sue or arbitrate with one or more persons without joining or suing others

information Sharing; Credit Repcrting. You allow ustc make inquiries about your credit history. if you believe that you have been the victim of identity theft in
connection with your Pawn, write to us at the Notice Address. in your letter: (a) provide your name and Pawn number. and (b) submit an identity theft afddavit or identity
theft report

Teiephone Recording. You agree that we may monitor and record any phone conversation you have with us.

Automatic Reminders. We may use automated telephone diaiing, text messaging systems and emaii to provide messages to you about the Maturity Date and other
important information The telephone messages may be played by a machine when the telephone is answered whether answered by you or someone eise. These
messages may also be recorded by your answering machine You give us your permission to call or send a text message to any telephone number you give us. This
includes cell phone and iandiine numbers You give us permission to play pre-recorded messages or send text messages with information about your Pawn over the
phone. You also give us permission to send such information to you by email. You agree that we will not be liable to you for any such calls or communications You
understand that you may get a charge from your phone or internal company. You agree that we have no liability for such fees

Bankruptcy Notices. Any notice to us under the Federai Bankruptcy Code must be in writing, must include your Pawn number. and must be sent to the Notice Address.
Notice and Cure. Before starting a lawsuit or arbitration regarding a legal dispute or claim relating to this Pawn Ticket, the Motor Vehicle or the Pawn (the “Dlspute”),
the party filing the Dispute (the “Ciaimant”) will give the other party (the “Defending Party”) written notice of the Dispute (a “Dispute Notice") and not less than 30 days
to resolve the Dispute. Any Dispute Notice to you will be sent by mail or email to the address you gave on your Appiicatton (or any address you have since given us).
Any Dispute Notice to us will be sent by mail to the Notice Address. Any Dispute Notice you send must include your Pawn number. mailing address and telephone
number. lt must explain the nature of the Dispute and the relief requested The Claimant must provide any information about the Dispute that the Deiending Party
requests

WAlVER OF RIGHT TO TRlAL BY JURY. YOU AND WE ACKNOWLEDGE THAT THE RiGHT TO TRlAL B¥ JURY lS A CONSTlTUTlONAL RlGHT. THlS RlGHT
MAY BE WAlVED UNDER CERTAlN CONDiTiONS AS ALLOWED BY LAW. YOU AND WE KNOWlNGLV AND VOLUNTARlLY WAlVE ANY RlGHT TO TRlAL
BY JURY lN THE EVENT OF LlTlGATlON ARlSlNG OUT OF OR RELAtED DIRECTLY OR lNDlRECTLY TO EACH 0F THE FGLLOWlNG: (A) THiS PAWN
TiCKET; AND (B) THE PAWN THAT lS THE SUBJECT OF THlS PAWN TlCKET. THIS JURY TRlAL WAlVER WiLL NOT CHANGE ANY ARBlTRATlON CLAUSE
TO WHICH YOU AND WE ARE SUBJECT, WHlCH CONTAlNS iTS OWN SEPARATE JUR¥ TRlAL WAlVER.

JURY TRlAL WAlVER AND ARB|TRAT|ON CLAUSE. By signing below, you agree to this Jury Triai Waiver and Arbitration Clause (“Ciause"). We have drafted this
Clause in question and answer form so it is easier to understand This Clause is part of this Pawn Ticket and is legally binding

 

 

 

 

 

 

 

 

 

Background and Scope.
Question Short Answer Further Detail
What is . in arbitration, a third party Arbiter (“TPA") soives Disputes in a hearing (“hearing"). lt is less formal than a
arbitration? An alternatwe to court court case.
;:'t:i;f:(;e.:t from Yes The hearing is private There is no jury. lt is usually less format faster, and less costly than a lawsuit Pre
trial:s? 1 ry hearing fact finding is limited Appeais are limited Couits rarely overturn arbitration awards
if you do not want this Clause to apply, you must tell us in writing within 60 calendar days after signing this
Can you opt-out of Yes within 60 da s Pawn Ticket. Send your signed written notice to the Notice Address. Give your name, address Pawn
this Clause? ’ y number and Pawn date. State that you “opt out” of the arbitration clause We do not allow electronic
, delivery
What is this Clause The parties' agreement You and we agree that any party may arbitrate or demand arbitration of any "Dispute," unless you opt out or
about? to arbitrate Disputes the law does not allow it.
This Clause covers you and us. lt also covers certain "Related Parties.” These include: (i) our parent
Who does the You, us. and certain companies subsidiariesl and afhiiates; (2) our employees directors ofdcers, shareholders members and
Clause cover'? "Reiated Parties" representatives; and (3) any person or company that is involved in a Dispute that you pursue at the same
time you pursue this Dispute (for example, a recovery company).
This Clause covers Disputes that would usually be decided in court and are between us (or a Related Party)
and you. in this Clause, the word Disputes has the broadest meaning it includes all claims related to your
Most Disputes that applicationl this Pawn Ticket. the Motor Vehicie, the Pawn, any Other Pawn or your relationship with us. lt
What Disputes would normally go to includes claims related to any prior applications or agreements lt includes extensions renewals
does the Clause court (except certain refinancian or payment plans lt includes claims related to collections privacy, and customer information it
cover? Disputes about this includes claims related to the validity of this Pawn Ticket. But, it does not include disputes about the
Clause) validity, coverage, or scope of this Clause or any part of this Clause. These are for a court and not the
TPA to decide. Also, this Clause does not cover our taking and selling the Motor Vehicie. it does not
cover any individual case you file to stop us from taking or selling the Motor Vehicle.
Arbitrations are conducted under this Clause and the rules of the arbitration company. Arbitration rules that
conflict with this Clause do not apply. The arbitration company will be either.
Who handles the o The American Arbitration Association ('AAA”), 1633 Broadway, iOth Floor. New ¥ork, NY 10019,
arbitration? Usuaiiy AAA or JAMS Www_adr_mg'
» JAMS, 620 Eighth Avenue, 34th Floor, New York, NY 10018, www.iamsadr.crg
» Any other company picked by agreement of the parties

 

 

 

 

 

Any comments or questions may be directed to Customer Service at the following toll-free number (866)340-6394
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ADD|TIONAL TERMS AND CONDlTlONS OF TH|S WR|TTEN DiSCLOSURE TlCKET

 

lf all these options are unavailable a court will pick the arbitration company. But, no arbitration may be
administered without our consent by an arbitration company that would permit class arbitration under
this Clause.

The TPA will be selected under the arbitration company's rules. The TPA must be a lawyer with at least ten
years of experience or a retired iudge, unless you and we otherwise agree

 

Either party may bring a lawsuit if the other party does not demand arbitration We will not demand arbitration

 

 

§§:un:rst‘;:t:::r:? Sometimes of any lawsuit you bring as an individual in small claims court. But, we may demand arbitration of any appeal
g of a small claims decision or any small claims action brought as a class
For Disputes subject to this Clause, you give up your right to:
1. Have juries decide Disputes.
_ _ 2 Have courts, other than small claims courts, decide Disputes.
;\r:; zi;lr’r§';mg up Yes 3 Serve as a private attorney general or in a representative capacity.
4. Join a Dispute you have with a dispute by other consumers
5 Bring or be a class member in a class action or class arbitration,
We also give up the right to a jury trial and to have courts decide Disputes we wish to arbitrate
can orr or another The TPA is p_o_t allowed to handle a Dispute on a class or representative basis. All Disputes subject to
cons¥rmer starr No this Clause must be decided in an individual arbitration or an individual small claims action This Clause will
Class arbitration? be void if a court rules that the TPA can decide a Dispute on a class basis and the courts ruling is not

reversed on appeal

 

What law applies?

The Federai Arbitration

This Pawn Ticket and the Pawn involve interstate commerce The FAA governs this Clause. The TPA must
apply law consistent with the FAA. The TPA must honor statutes of limitation and privilege rights. Punitive

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Act (“FAA ) damages are governed by the constitutional standards that apply in judicial proceedings
:gl:r:"§§';'g$rg°u No This Clause stays in force if your (l) cancel the Pawn; (2) default, renew, prepay or pay your Pawn in full; or
Claus§., (3) go into bankruptcy
Process.
Question Short Answer Fu rther Detail
Before starting a lawsuit or arbitration, the complaining party must give the other party written notice of the
What must ou do Dispute The notice must explain the nature of the Dispute and any supporting facts lf you are the
before starr)r'n a Send a written Dispute complaining party, you must send the notice in writing (and not electronically) to our Notice Address. You, or
lawsuit or g notice and work to an attorney you have hired must sign the notice You must give your Pawn number and a phone number
arbitration resolve the Dispute where you (or your attorney) can be reached lf we send you a collections letter, this will be your written
notice of a Dispute. Once a Dispute notice is senl, the complaining party must give the other party a chance
to resolve the Dispute on an individual basis over the next 30 days
lf the parties do not come to an agreement to resolve the Dispute within 30 days after the notice of the
Fouowrn the rules of Dispute is received the complaining party may start a lawsuit or arbitration To start arbitration, the
How does the arbitration complaining party picks the arbitration company and follows their rules. lf one party begins or threatens a
arbitration start'? com an lawsuit, the other party can demand arbitration This demand can be made in court papers lt can be made if
p y a party begins a lawsuit on an individual basis and then tries to pursue a class action Once an arbitration
demand is madel no lawsuit can be brought and any current lawsuit must stop.
Will any hearing be Yes The TPA may decide that an in person hearing is not needed and that a Dispute may be resolved in writing
held nearby? and by conference call. But, any in person hearing must be held at a place reasonably convenient to you.
Appeal rights under the FAA are limited For Claims involving more than 350,000, any party may appeal the
What about ve limited award to a panel of three TPAs chosen by the arbitration company. This panel will reconsider anything in the
appeals? ry initial award that is appealed The panels decision will be hnal, except for any FAA appeal right Any suitable
court may enter judgment upon the TPA‘s award
Arbitration Fees and Awards.
Question Short Answer Fu rther Detail
Who pays We will pay all hllng, administrative hearing and TPA’s fees if you act in good faith, cannot get a waiver of
Usually we do
arbitration fees? ’ ' such fees. and ask us to pay.
When wm we cover lf you win an arbitration, we will pay your reasonable fees and costs for attorneys, experts, and witnesses We
our le al fees and if ou win will also pay these amounts if required by law or the arbitration company’s miss or if payment is required to
:°srs?g y enforce this Clause. The TPA will not limit the award of these amounts because your Dispute is for a small
amount
H|;:r°:r§;;:;t?r:;e°r Om for bad faith The TPA can require you to pay our fees if the TPA rinds that you have acted in bad faith (accordlng to
attorneys fees,) y standards described in Federai Rule of Civil Procedure ti(b)) and this power does not void this Clause.

 

 

 

 

 

Any comments or questions may be directed to Customer Service at the following toll~free number (866)340-6394
TM-GA~Customer Agr`V.2.2.03.03.2016

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ADD|TlGNAL TERMS AND CONDiTiONS OF TH|S WR|TTEN DiSCLOSURE TlCKET

 

You are entitled to an arbitration award of at least $7,500 if: (1) you give us notice of a Dispute only on your

Can a failure to own behalf and comply with the terms of this Clause; and (2) the TPA awards you money damages greater
resolve a Dispute than the last amount you requested at least ten days before the arbitration started. This is in addition to the
informally mean a Yes attorneys' fees and expenses. and expert witness costs to which you would be entitled This $7,500 minimum
larger recovery for award is a single award that applies to all Disputes you have raised or could have raised Multiple awards of
you? $7,500 are not considered by this Clause. Settlement demands and offers are strictly contidential. They may

not be used in any proceeding by either party except to justify a minimum recovery of $7,500.

 

Can an award be
explained?

A party may ask for an explanation from the TPA, within 14 days of the ruling. Upon such request, the TPA

Yes wirr explain rne ruling in writing

 

 

 

 

 

Representations and Warranties. Pledgor attests that the Motor Vehicle is not stolen, it has no liens or encumbrances against it, and pledgor has the right to sell the
Motor Vehicle. By signing this Written Disclosure Ticket, Pledgor attests that he or she is at least 18 years of age and is the true owner of the Motor Vehicle. The
Pawnbroker will not lease back to the Pledgor the Motor Vehicle during this Pawn Transaction or during any extension or continuation of this Pawn Transaction. The
Pledgor does hereby acknowledge that he has inspected the Motor Vehicle and that such Motor Vehicle is in good repair and condition The Pledgor does hereby
assume and bear the entire risk of loss or damage to the Motor Vehicle while in his possession and does agree to indemnify and hold harmless the Pawnbroker from
any and all property damages or personal injuries arising from the operation of the Motor Vehicle, including, but not limited to, all lawsuitsl judgmentsx attorneys fees,
court costs, or any expenses that may be incurred The Pledgor agrees to maintain liability and casualty insurance with respect to the Motor Vehicle during the duration
of this Pawn Transaction. This Written Disclosure Ticket may only be amended as you and we agree in writing

By signing this Written Disclosure Ticket you acknowledge that it was titled in before you did so and that you have received a completed copy of it. You also warrant
and represent that you are not a debtor under any proceeding in bankruptcy and have no intention to tile a petition for relief under any chapter of the United States
Bankruptcy Code. You further acknowledge that we are a Pawnbroker and that you are engaging in a Pawn Transaction with us (the terms of which are contained
herein) as allowed by 0.C.G.A. §44¢12-130 et seq. You further acknowledge that you have read, understand, and agree to all of the terms of this Written
Disclosure Ticket, including the above “Waiver of Jury Trial and Arbitration Clause."

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MW"__ v-osoomcczsoaazgts employee

Account Number. 400816464

 

 

Co-Pledgor Signature

THlS DOCUMENT lS SUBJECT TO A SECUR|TY lNTEREST lN FAVOR OF. AND PLEDGED AS COLLATERAL TO. WELLS FARGO BANK. NATIONAL
ASSOC|ATION, AS COLLATERAL AGENT.

Any comments or questions may be directed to Customer Service at the following toll-free number: (866)340~6394
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IN THE UNITED STATES BANKRUPTCY C()URT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: MARGARET W. ALLEN, : CHAPTER 13
Debtor, CASE NO. 18-10077-SDB

 

TITLEMAX OF GEORGIA, INC.,

Movant,

JUDGE SUSAN D. BARRETT
vs.

MARGARET W. ALLEN and
HUON LE, Trustee,

Respondents.
CERTIFICATE ()F SERVICE
This is to certify that I have this day served the following parties in this matter With a copy
of the Within and foregoing Objection to Plan and Motion to Deny Coni"lrmation by depositing

a tme and correct copy in the U.S. Maii With sufficient postage affixed thereto and properly
addressed as follows: '

Ma;rgaret W. Aiien Huon Le, Trustee
3310 Sylvester Drive P.O. Box 2127
Augusta, GA 30906 Augusta, GA 30903

Lauminnia F. Nivens, Esq.
1101 11th Street
Augusta, GA 30901

This 21st day of March, 2018

THE BOWEN LAW GROUP

/s/ Charies J. Bowen
CHARLES J. BOWEN
7 East Congress Street Georgia State Bar No. 071115
Suite 1001 Al'rorneyfor' Movcmt
Savannah, GA 31401
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